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                           United States District Court
                            Middle District of Florida
                                Tampa Division


UNITED STATES OF AMERICA,

v.                                           NO. 8:22-CR-437-WFJ-SPF

JOHN LEE
    A/K/A GIOVANNI.

              DEFNEDANT.



                       Motion for Special Admission

        Paul S. Hugel moves for special admission to represent third-party

petitioner L.J. West Diamonds, Inc. this action.


        I am not a member in good standing of The Florida Bar.


        I am a member in good standing of a bar of a United States district court;

specifically, the Southern District of New York and the Eastern District of New

York.


        I have not abused the privilege of special admission by maintaining a

regular law practice in Florida. I have initially appeared in the last thirty-six

months in these cases in state or federal court in Florida: None .


        I will comply with the federal rules and this Court’s local rules.



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      I am familiar with 28 U.S.C. § 1927, which provides:


      Any attorney or other person admitted to conduct cases in any court of
      the United States or any Territory thereof who so multiplies the
      proceedings in any case unreasonably and vexatiously may be required
      by the court to satisfy personally the excess costs, expenses, and
      attorneys’ fees reasonably incurred because of such conduct.

      I have paid the fee for special admission or will pay the fee upon special

admission.


      I will register with the Court’s CM/ECF system.


      I affirm the oath, which states:

      I will support the Constitution of the United States. I will bear true faith
      and allegiance to the government of the United States. I will maintain
      the respect due to the courts of justice and all judicial officers. I will well
      and faithfully discharge my duties as an attorney and officer of this
      Court. I will conduct myself uprightly and according to the law and the
      recognized standards of ethics of the legal profession.

Dated: New York, New York
       June 17, 2024
                                         CLAYMAN ROSENBERG
                                         KIRSHNER & LINDER LLP


                                         __________________________
                                         Paul S. Hugel (SDNY Bar No. PH4749)
                                         305 Madison Avenue, Suite 650
                                         New York, New York 10165
                                         (212) 922-1080
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                    Local Rule 3.01(g) Certification

      I have been unable to confer with the parties to this matter before filing

this motion as the Assistant United States Attorneys on this matter are

unavailable and the defendant is incarcerated and not presently represented

by counsel.

Dated:        New York, New York
              June 17, 2024
                                                 _________________________
                                                       Paul S. Hugel




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